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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )           (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                                ORDER

    Upon consideration of the government’s motion to

sever    the   remaining     defendants,      continue      the   first

severed trial, and permit the parties to meet with prior

members of the jury (Doc. No. 1697) and defendant Milton

E. McGregor’s motion to continue (Doc. No. 1696), it is

ORDERED that the nonmovants show cause, if any there be,

in writing by August 22, 2011, as to why said motions

should not be granted.

    DONE, this the 18th day of August, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
